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          IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

  UNITED STATES OF AMERICA
                                                  Crim. No 15-CR-290
  V.                                              The Hon. Liam O'Grady

  NOE MONTES BOBADILLA,
      (Defendant)


                                        ORDER

        Upon consideration of Defendant's Motion, to Place Exhibit Under Seal

  and Ex Parte and to Strike From the Record Disqualified Counsel, there being

  good cause shown, it is this      \    day of            . 2018, hereby
               ORDERED that the Motion is granted; and it is further

               ORDERED that the exhibit 1 of ECF#112 be placed under seal

  and ex parte; and it is further

        ORDERED that the Clerk strike from the case Daniel Dorsey, Esq., to

  preclude his further filing pleadings in this matter.




                                          Liam O'Grady
                                          United States Distnct'Court Judge
